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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                     Hon. Noel L. Hillman, U.S.D.J.

      V.                                     Crim. No. 14-cr-152 (NLH)

ROBERT SMITH

                                    ORDER


      The Court having previously granted limited discovery to defendant

Robert Smith regarding his selective enforcement claim, under the standard

pronounced in United States v. Washington, 869 F.3d 193 (3d Cir. 2017), as

outlined in the Court's June 2, 2021 Order (ECF No. 222); the Government

having complied with its obligations under that Order, and the defendant

having thereafter sought further discovery (ECF No. 238); and the United

States having opposed the grant of further discovery (ECF No. 241); the Court

having heard argument on October 12, 2023, regarding defendant's claim that

he is entitled to additional discovery under the Washington standard; having

considered the arguments of the parties at the hearing and in their respective

prehearing briefs; and having found the Washington standard satisfied, it is

hereby:

      ORDERED that the United States will produce the following discovery to

defendant Robert Smith's counsel, Justin T. Loughry, Esq. and Floyd J. Miller,

Esq., no later than February 15, 2024:

            All records of, or referring or relating to, any communications
            which took place between September 1, 2013 and April 30, 2016
            concerning codefendant Derrick L. Adams, a/k/a "Little D,"
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            between Burlington County Prosecutor's Office ("BCPO") personnel
            and the ATF Camden Field Office. These materials_include, but
            are not limited to: any and all rough notes, notations, emails, text
            messages, telephone or voicemail messages and memoranda or
            interview or memoranda generally.

      It is further ORDERED that no later than February 29, 2024 , the

defendant and the United States shall each file a brief addressing the effect of

any materials produced by the United States in compliance with this Order on

Smith's claim of selective enforcement under the Washington standard.

      So ORDERED this --~ -
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                                                 ___~
                                  day of _ _____,.,_\ __v_7 ---+---' 2024.


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                                      Hon. Noel L. Hillman
                                      U.S. District Judge
                                      Camden, New Jersey



 Form and entry consented to:



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                                            / s/ Justin T. Loughry
                                            Justin T. Loughry, Esq.
Assistant U.S. Attorney                     Floyd J. Miller, Esq.
                                            Counsel for defendant Robert Smith




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